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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


ERIC C. DETERS
                                                                           Case No. 1:19-cv-0024
         Plaintiff,
                                                                           Dlott, J.
                 v.                                                        Bowman, M.J.

MARK SCHWEIKERT,

         Defendant


                                REPORT AND RECOMMENDATION

    I.       Factual and Procedural Background

         Plaintiff Eric Deters, proceeding pro se, initiated this action on January 8, 2019 by

filing a 93-page complaint, consisting of 400 numbered paragraphs and supported by 244

pages of attached exhibits.1 Plaintiff identifies himself as a “retired Ohio attorney who

works at Deters Law in many capacities including as a trial consultant and paralegal in

the courtroom during hearings and trials.” (Doc. 1, Complaint at ¶1). Relevant to his

complaint in this case is the fact that Plaintiff is not licensed to practice law for his

namesake firm in any state.2 Although Plaintiff was permitted to retire from Ohio, he

remains under suspension in Kentucky and in this Court.3 See Deters v. Ky. Bar Ass’n.


1 The complaint fails to comply with Fed. R. Civ. P. 8(a)(2), which requires “a short and plain statement of
the claim showing that the pleader is entitled to relief.” The lengthy complaint instead repeats, verbatim,
numerous allegations taken from other complaints filed in this Court alleging bias by Judge Schweikert in
the Durrani litigation. The use of borrowed allegations from other complaints, aside from their questionable
relevance, adds confusion through references to “Plaintiffs” and “Defendants” who are parties to other
cases, but are not parties to this federal case.
2 The website for Deters Law is “ericdeters.com.”
3 Plaintiff’s retirement from Ohio practice was effective September 17, 2014. Although he initially attempted

to retire from the practice of law in Kentucky, he was prohibited from doing so under Kentucky Supreme
Court Rule 3.480(1), which prohibits withdrawal from membership during the pendency of disciplinary
proceedings. Kentucky Bar Ass’n v. Deters, 465 S.W.3d 30, 35 (Ky. 2015). His subsequent challenge to
that rule was rebuffed for failure to state any claim in Deters v. Ky. Bar Assoc., 130 F. Supp.3d 1038 (E.D.

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646 Fed. Appx. 468, 470 (6th Cir. 2016) (“Since 2012, Deters has been suspended from

the practice of law on multiple occasions for violations of the Kentucky Rules of

Professional Conduct, including several instances of dishonesty…. Deters has

unsuccessfully challenged the disciplinary process multiple times in both state and federal

court.”).

        The instant case arises in the context of Deters’ current employment. Despite his

inability to practice law, Deters alleges that he holds a constitutional right to continue to

appear before Ohio courts, working for his prior firm as a “trial consultant and paralegal

in the courtroom during hearings and trials” in the same cases in which he once practiced

as an attorney. (Complaint, Doc. 1 at ¶1). The cases that underly the above-captioned

complaint involve Dr. Durrani, a spine surgeon who fled the jurisdiction of this Court during

the pendency of criminal proceedings against him, see United States v. Abubakar Atiq

Durrani, Case No. 1:13-cr-84, but who continues as a named defendant in hundreds of

civil lawsuits pending against him in both state and federal courts. Plaintiff alleges that

Deters Law continues to represent “approximately 528 clients… in medical malpractice

and fraud lawsuits for unnecessary spine surgeries” against Dr. Durrani and associated



Ky. 2015). Plaintiff has been disciplined and suspended from the practice of law on multiple occasions; his
September 2014 suspension from this Court remains in effect, as does his suspension in Kentucky. See In
Re Eric C. Deters, Case No. 1:12-mc-042; see also https://www.kybar.org/members/?id=32538435
(accessed on April 12, 2019). Cases involving disciplinary proceedings and/or Rule 11 sanctions against
Deters include: Deters v. Ky. Bar Ass’n, 646 Fed. Appx. 468 (6th Cir. April 28, 2016), cert. denied, 137 S.
Ct. 496 (Nov. 28, 2016); Deters v. Ky. Bar Ass’n, 474 S.W.3d 299 (Ky. 2016); Ky Bar Ass’n v. Deters, 465
S.W.3d 30 (Ky. 2015); Deters v. Ky. Bar Ass’n, 130 F. Supp.3d 1038 (E.D. Ky. 2015); Deters v. Ky. Bar
Ass’n, Case No. 1:14-cv-192 (S.D. Ohio 2014). Kentucky Bar Ass’n v. Deters, 406 S.W.3d 812 (2013),
cert. denied, 134 S. Ct. 965 (Jan. 13, 2014); Deters v. Ky. Bar Ass’n, 408 S.W.3d 71 (Ky. 2012); Ky. Bar
Ass’n. v. Deters, 360 S.W. 3d 224 (Ky. 2012); Deters v. Kenton County, 2012 WL 512588 (Ky. Ct. App.
Feb. 17, 2012); Deters v. Ky. Bar Ass’n, 2011 WL 5837172 (E.D. Ky. Nov. 21, 2011), aff’d, Case No. 11-
6524 (6th Cir. Dec. 10, 2012); Deters v. Davis, 2011 WL 2417055 (E.D. Ky. June 13, 2011); Deters v. Davis,
2011 WL 127166 (E.D. Ky. Jan. 14, 2011); Deters v. Huebener, 2009 WL 874607 (Ky. Ct. App. April 3,
2009). Plaintiff also has been suspended from the practice of law in Florida. See The Florida Bar v. Deters,
118 So. 3d 808, 2013 WL 3388370 (Fla. June 27, 2013) (Table).


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defendants. (Id. at ¶74). Although most of the Durrani cases are presently being litigated

in the state courts, some remain in this Court.

        In this case, Plaintiff has sued Hamilton County Court of Common Pleas Judge

Mark Schweikert as the judicial officer “overseeing the Dr. Durrani cases by special

assignment of [Ohio] Chief Justice O’Connor.” (Id. at ¶3). Judge Schweikert is named

solely in his official capacity. (Id.) Plaintiff and/or Deters Law “and the lawyers assisting

Deters Law” have repeatedly attempted to force Judge Schweikert to recuse. (Id. at ¶¶20-

21). In fact, Deters Law has filed multiple lawsuits in this federal Court in an attempt to

“challeng[e] [Judge] Mark Schweikert’s authority to serve, the Ohio recusal process, being

unconstitutional and his not properly handling the cases and his attempt to make Durrani

Plaintiffs pay over $1 million in advance of costs.” (Id. at ¶25, citing Case Nos. 1:18-cv-

3452; 1:18-cv-139; 1:18-cv-599; 1:18-cv-699).4 Although a few of the referenced cases

remain pending, the Sixth Circuit recently affirmed the dismissal of one such case based

upon the doctrine of Younger abstention. See Aaron v. O’Connor, Case No. 1:17-cv-846,

aff’d at 914 F.3d 1010 (6th Cir. Jan. 30, 2019).

        Rather than challenging Judge Schweikert’s authority to preside over the state

court Durrani proceedings, in the above-captioned case Plaintiff challenges one of Judge

Schweikert’s rulings. On October 4, 2018, Judge Schweikert filed an order that excludes

Deters from further participation in all state court Durrani proceedings, both pretrial and

trial, and regardless of the state court judicial officer presiding, “unless leave is otherwise

granted.” (Doc. 1-1 at 4). The Order states:




4  Though not cited by Plaintiff Deters, the undersigned takes judicial notice of two additional related cases
filed in this Court, Case Nos. 1:18-cv-169 and Case No. 1:17-cv-846.

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       It appearing to the Court that Mr. Eric Deters has routinely attended
       proceedings related to the Durrani Litigation as an associate of the Deters
       Law Firm; and

       It appearing that Mr. Eric Deters and the Attorneys associated with him and
       the Deters Law Firm have been repeatedly warned about his disruptions in
       the proceedings and that continued disruptions would result in sanctions;
       and

       It further appearing that on October 3, 2018, during a pretrial on the record
       in the case of Corry Wright v. Abubakar Atiq Durrani, Case NO. A1402534,
       Mr. Eric Deters once again caused a physical disruption to the proceedings
       by his outrageous physical conduct as well as his vocal address to the
       record without leave or admission further distracting the Court and the other
       participants in the proceeding.

       IT IS THEREFORE ORDERED that Mr. Eric Deters is excluded from
       attending the proceedings in the Durrani Litigation, whether or not the Court
       is in session and regardless of which judicial officer is conducting the
       proceedings, unless leave is otherwise granted, and until further order of
       the Court.

       In addition to Mr. Eric Deters, counsel designated in the case, who are
       associated with Mr. Eric Deters and the Deters Law Firm shall be
       responsible for his full compliance herewith. Failure to comply with this
       order may result in contempt and sanctions therefore.

       This order given on the record in chambers before all counsel on October
       4, 2018 and personally delivered and served on Frederick Johnson, counsel
       for the Plaintiff, and ordered to be personally served by Mr. Johnson or Mr.
       Eric Deters, his associate. Mr. Johnson shall report below on a copy of this
       order that he has completed this service as directed.

(Id. at 3-4).

       Plaintiff alleges that the referenced Order amounts to an unconstitutional and

“unfair ‘Eric Deters’ Rule.” (Doc. 1 at ¶2). Borrowing and restating from other cases the

Deters Law Firm’s numerous allegations of bias and prejudice by Judge Schweikert and

Chief Judge Maureen O’Connor (who is not a named defendant in this case), Plaintiff

alleges herein that “the Court’s sanction was a form of contempt without a hearing, a

violation of Deters Law and my right to have a hearing on the contempt.” (Id. at ¶24).

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Plaintiff asserts a constitutional right to appear in state court Durrani proceedings, citing

the “open courts” provision of the Ohio Constitution and the Free Speech and Free Press

Clauses of the First Amendment to the United States Constitution.                           (Id. at ¶400).

Notwithstanding the length of his complaint, Plaintiff articulates only one claim. (Id. at

¶¶398-400). Thus, in “Count I,” Plaintiff seeks “an Order protecting his rights to attend

Durrani trials.” (Id. at 92). More generally, Plaintiff seeks declaratory and injunctive relief,

costs, and attorney’s fees based upon “42 U.S.C. § 1983, 28 U.S.C. § 1331, 28 U.S.C. §

1343, the United States Constitution, the Ohio Constitution (Article 1, § 16), and other

[unspecified] applicable law.” (Id. at ¶5).

          Pursuant to local practice, this case has been referred to the undersigned

magistrate judge for initial consideration and a report and recommendation on any

dispositive motions. This matter is now before the court on cross motions for judgment on

the pleadings (Docs. 8, 13) and the parties’ responsive memoranda (Docs. 12, 15).5 Upon

careful consideration of the record in this matter, the undersigned recommends that

Plaintiff’s 12(c) motion be denied and that Defendant’s 12(c) motion be granted.

    II.      Analysis

             A. Standard of Review

          A district court reviews a Rule 12(c) motion for judgment on the pleadings under

the same standard applicable to a Rule 12(b)(6) motion to dismiss. EEOC v. J.H. Routh

Packing Co., 246 F.3d 850, 851 (6th Cir. 2001). Accordingly, "we construe the complaint

in the light most favorable to the nonmoving party, accept the well-pled factual allegations

as true, and determine whether the moving party is entitled to judgment as a matter of


5Although Plaintiff’s Rule 12(c) motion was prematurely filed prior to the filing of Defendant’s Answer, it is
considered as if timely filed.

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law." Commercial Money Ctr., Inc. v. Illinois Union Ins. Co., 508 F.3d 327, 336 (6th Cir.

2007). While such determination rests primarily upon the allegations of the complaint,

"matters of public record, orders, items appearing in the record of the case, and exhibits

attached to the complaint, also may be taken into account." Amini v. Oberlin Coll., 259

F.3d 493, 502 (6th Cir. 2001) (quoting Nieman v. NLO, Inc., 108 F.3d 1546, 1554 (6th Cir.

1997)) (emphasis omitted).

          B. Defendant Judge Schweikert is Entitled to Absolute Immunity for all
             claims for injunctive relief

      Plaintiff seeks relief under 42 U.S.C. § 1983, which prohibits a person who acts

“under color of state law” from depriving another of a right or privilege “secured by the

Constitution” or laws of the United States. Graham v. National Collegiate Athletic Ass'n,

804 F.2d 953, 957 (6th Cir.1986) (citing Parratt v. Taylor, 451 U.S. 527, 535, 101 S.Ct.

1908 (1981), overruled in part on other grounds, Daniels v. Williams, 474 U.S. 327, 106

S.Ct. 662 (1986)). However, the order challenged by Plaintiff here was issued by Judge

Schweikert in the performance of his judicial duties. Under the statute and controlling

Supreme Court authority, state court judges are afforded absolute immunity from

damages for acts they commit while functioning within their judicial capacity. Mireles v.

Waco, 502 U.S. 9, 11 (1991); Pierson v. Ray, 386 U.S. 547 (1967); Barrett v. Harrington,

130 F.3d 246, 255 (6th Cir. 1997). Judges retain absolute immunity from liability even if

they act maliciously or corruptly, as long as they are performing judicial acts and have

jurisdiction over the subject matter giving rise to the suit against them. Stump v.

Sparkman, 435 U.S. 349, 356-57 (1978); see also Stern v. Mascio, 262 F.3d 600, 607

(6th Cir. 2001); King v. Love, 766 F.2d 962 (6th Cir. 1985).




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       Only two exceptions to immunity apply: “First, a judge is not immune from liability

for nonjudicial actions, i.e., actions not taken in the judge's judicial capacity. Second, a

judge is not immune for actions, though judicial in nature, taken in the complete absence

of all jurisdiction.” Stern. 262 F.3d at 607 (quoting Mireles, 502 U.S. at 11–12). Plaintiff

Deters has not alleged any facts indicating that either exception applies, nor does he so

much as argue that any exception applies in his opposition to the Defendant’s motion for

judgment on the pleadings. Instead, Plaintiff argues only that the doctrine of judicial

immunity does not bar his claims for injunctive or declaratory relief.

       Plaintiff cites Pulliam v. Allen, 466 U.S. 522, 104 S. Ct. 1970 (1984), to assert that

judicial immunity does not preclude injunctive relief. However, Pulliam’s injunctive relief

holding was statutorily superseded more than two decades ago in the Federal Courts

Improvement Act of 1996. Pub. Law. 104-317 § 309(c) (1996) (codified as amended at

42 U.S.C. § 1983). As Deters is well aware (having been so advised at least twice by

federal courts), 42 U.S.C. § 1983 states that “in any action brought against a judicial

officer for an act or omission taken in such officer’s judicial capacity, injunctive relief shall

not be granted unless a declaratory decree was violated or declaratory relief was

unavailable.” See Deters v. Ky. Bar Ass’n, 130 F. Supp.3d 1038, 1048 (E.D. Ky 2015).

       Deters’ conduct in continuing to pursue an obviously specious claim for injunctive

relief provides grounds for the sua sponte imposition of Rule 11 sanctions in this case. In

Deters v. Davis, 2011 WL 2417055, U.S. District Judge Danny Reeves sanctioned Deters

under Rule 11 for presenting equally frivolous claims, including the same “incorrect

assertion and reliance on Pulliam…for the proposition that judicial immunity does not

extend to suits for injunctive relief.” Id. at *6. Considering another specious argument


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presented by Deters based upon a misreading or misrepresentation of other Supreme

Court case law, Judge Reeves wrote in part:

      The Court is at a loss to understand how Deters could have read this
      holding—that was included in the research he claims to have reviewed and
      later submitted to the Court—and still, in good faith, state that Rooker–
      Feldman was not even implicated. The dissonance between Deters'
      research and his written assertions supports one of two conclusions, neither
      of which constitutes acceptable conduct by an attorney practicing in this
      Court. First, giving him the benefit of the doubt, Deters has exhibited a
      complete lack of understanding of what he reads. Second, Deters has
      demonstrated a willful deception of materials presented to the Court. Either
      way, despite having sufficient research presented to him, Deters failed to
      either personally review and/or comprehend the legal precedent in the
      manner expected by a member of the bar. He failed to conduct a reasonable
      inquiry into the law before stating in writing that no state-court orders or
      decisions predicated his case. For that reason, the Court finds
      that Deters violated Rule 11 by his statements in Paragraph 49 of his
      Complaint.

Deters v. Davis, 2011 WL 2417055, at *5 (see also id. at n.1, holding that “the fact that

Deters is technically proceeding pro se, rather than as an attorney in a representative

capacity, does not change the Court’s analysis.”).

      Rule 11(c)(3) of the Federal Rules of Civil Procedure provides that a court may

order a party “to show cause why conduct specifically described in the order has not

violated Rule 11(b).” Numerous courts, including the Sixth Circuit, have confirmed that

courts may impose Rule 11 sanctions, sua sponte, against even a pro se party under

appropriate circumstances. See Lemaster v. United States, 891 F.2d 115, 120-121 (6th

Cir. 1989); see also generally Hilgeford v. Peoples Bank, Portland, IN, 110 F.R.D. 700

(N.D.In 1996). In this Report and Recommendation, the undersigned recommends that

an order issue to Plaintiff Deters to show cause why his conduct has not violated Rule 11

in this case sufficient to justify, at a minimum, a monetary sanction payable to the Clerk




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of Court for the undue waste of judicial resources required to adjudicate the patently

frivolous claims presented.

          C. No Viable Claim for Attorney’s Fees

       Plaintiff’s inclusion of a claim for an award of attorney fees under 42 U.S.C. § 1988

is similarly specious and violative of Rule 11. See Kay v. Ehrler, 111 S. Ct. 1435 (1991)

(holding pro se attorney not entitled to attorney fees under § 1988). “[I]n any action

brought against a judicial officer for an act or omission taken in such officer's judicial

capacity such officer shall not be held liable for any costs, including attorney's fees, unless

such action was clearly in excess of such officer's jurisdiction.” 42 U.S.C § 1988. See

also Deters v. Davis, 2011 WL 2417055 at n.6 (noting the inapplicability of 42 U.S.C.

§1988 provision).

          D. Younger Abstention Applies to Claim for Declaratory Relief

       Unlike the claims for injunctive relief and attorney’s fees, Plaintiff’s claim against

Judge Schweikert in his official capacity for declaratory relief is not wholly frivolous,

because the doctrine of judicial immunity does not bar claims for declaratory relief. See

42 U.S.C. § 1983. However, the undersigned recommends that this Court exercise its

discretion to abstain from considering Plaintiff’s claim for relief under the third category

specified under the Younger abstention doctrine. See Younger v. Harris, 401 U.S. 37

(1971); Middlesex County Ethics Committee v. Garden State Bar Ass’n, 457 U.S. 423,

102 S. Ct. 2515 (1982).

       The Younger abstention doctrine has been applied in similar contexts to other

cases that Plaintiff Deters and/or Deters Law have pursued, including in the most recently

affirmed decision of this Court. See Aaron v. O’Connor, 914 F.3d 1010 (affirming trial


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court’s dismissal of claims under Younger, in Case No. 1:17-cv-846, where claims sought

to enjoin Chief Justice O’Connor from ruling on the affidavit of disqualification pertaining

to Judge Schweikert in the Durrani litigation and to enjoin Judge Schweikert from taking

on any action prior to ruling on the affidavit of disqualification); see also, generally, Deters

v. Davis, 2011 WL 127166 at **6-7 (applying Younger abstention); Deters v. Kentucky

Bar Ass’n, 2011 5637172 at **5-6 (same), aff’d, Case No. 11-6524 (6th Cir. Dec. 10,

2012); Deters v. Davis, 2011 WL 2417055 at *6 (same); Deters v. Kentucky Bar Ass’n,

646 Fed. Appx. at 473 and n.5 (same).

       Like the claims presented in Aaron v. O’Connor (which included some identical

allegations of bias against Judge Sweikert), the above-captioned case falls within the

category of civil proceedings requiring abstention because they “involv[e] certain orders

that are uniquely in furtherance of the state courts' ability to perform their judicial

functions.” New Orleans Public Service, Inc. v. Council of City of New Orleans, 109 S.Ct.

2506, 2518, 491 U.S. 350, 368 (1989). Deters’ allegation that Judge Schweikert’s order

is equivalent to an order of civil contempt, (Doc. 1 at ¶24), does nothing to advance his

cause, since a civil contempt proceeding falls even more clearly within the doctrine.

Aaron, 914 F.3d at 1017-1017 (explaining that a contempt proceeding is a “prototypical

example” of civil cases falling within the specified category of state civil proceedings

requiring abstention). As the Sixth Circuit most recently explained:

       [O]nce we have determined that a case falls into a NOPSI category in
       which Younger abstention may be proper, we next analyze the case “using
       a three-factor test laid out in Middlesex County Ethics Committee v. Garden
       State Bar Ass’n, 457 U.S. 423, 102 S.Ct. 2515, 73 L.Ed.2d 116
       (1982).” Doe, 860 F.3d at 369 (citing Sprint, 571 U.S. at 81, 134 S.Ct. 584).
       If “(1) state proceedings are currently pending; (2) the proceedings involve
       an important state interest; and (3) the state proceedings will provide the


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        federal plaintiff with an adequate opportunity to raise his constitutional
        claims,” we may abstain from hearing the federal claim. Id.

Aaron v. O’Connor, 914 F.3d at 1018.

        Applying the Middlesex test to the October 3, 2018 Order, all three factors apply.

First, state court proceedings are currently pending – Plaintiff’s complaint seeks a

Declaratory Judgment from this Court effectively overruling the trial court’s order in the

ongoing state court Durrani proceedings. Second, Judge Schweikert’s order typifies the

same type of interests present in a contempt proceeding - a state court’s ability to control

the sanctity of its civil court proceedings without undue disruption from a specifically

identified member of the public, who is not a witness, a party, or counsel.6 Third, to the

extent that Plaintiff Deters seeks to present his constitutional claims, he is presumed to

retain the ability to do so in state court, notwithstanding conclusory allegations to the

contrary. (See Doc. 1 at ¶98, “[a]ppealing biased and clearly wrong rulings is not a fair

remedy to Plaintiffs. A fair and impartial trial judge is and that is not Mark Schweikert.”).

             E. The Rooker-Feldman Doctrine

        To the extent that this lawsuit is construed as an appeal of Judge Schweikert’s

order barring him from attending Durrani proceedings, the Rooker-Feldman doctrine also

bars direct review. See generally Rooker v. Fidelity Trust Co., 263 U.S. 413, 44 S. Ct.

148 (1923); District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 103 S. Ct.

1303 (1983). In 2003, the Sixth Circuit held that the doctrine applied to interlocutory


6 Although the parties herein focus on the language in the order that bars Deters due to his physically and
verbally disruptive behavior after multiple warnings from Judge Schweikert that the state court deemed to
be “distracting” to participants and the court, the order also alludes to Deters’ attendance at Durrani
proceedings “as an associate of the Deters Law Firm.” The term “associate of [a law firm]” typically refers
to the status of an attorney, but may have been intended in this instance to more generically refer to
Plaintiff’s position as a paralegal. In his complaint, Plaintiff makes clear that he believes that the preparation
of witnesses, drafting questions, preparing exhibits, and “countless other work” does not constitute the
unauthorized practice of law. (Doc. 1 at ¶¶ 12, 23).

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orders and to orders of lower state courts. Pieper v. Am. Arbitration Ass’n, Inc., 336 F.3d

458 (6th Cir. 2003); see also Deters v. Davis, 2011 WL 127166 at *4 (rejecting Deters’

invitation to review an interlocutory order denying Deters’ motion to recuse in a state-

court proceeding under Rooker-Feldman). Some district courts within the Sixth Circuit

have reasoned that the doctrine can no longer be applied to interlocutory orders based

upon the Supreme Court’s decision in Exxon Mobil Corp. v. Saudi Basic Indus. Corp.,

544 U.S. 280, 292 (2005), but other judges in this district have disagreed. See Traufler

v. O’Connell, 2018 WL 684756 at *2 (S.D. Ohio Feb. 2, 2018) (Rose, J., holding that Exon

Mobile “does not stand for the proposition that interlocutory orders from state courts are

outside the Rooker-Feldman doctrine); contrast Persley v. Lee, 794 F. Supp.2d 728, 731-

732 (E.D. Ky. 2011).

           F. Alternative Recommendation that Judgment be Granted on the Merits

       As explained above, the undersigned has concluded that Judge Schweikert is

entitled to judicial immunity for Plaintiff’s claim for injunctive relief under 42 U.S.C. § 1983.

That claim should be dismissed with prejudice, as should Plaintiff’s frivolous claim for

attorney’s fees. By contrast, Plaintiff’s claim for declaratory judgment could be dismissed

without prejudice under the doctrine of Younger abstention, or alternatively could be

dismissed with prejudice under Rooker-Feldman to the extent that Plaintiff seeks to

appeal Judge Schweikert’s order to this Court. The foregoing analysis eliminates any

reason to reach the merits of Plaintiff’s claim.

       However, solely in furtherance of judicial economy should any reviewing court

disagree with the prior analysis, the undersigned includes an additional and alternative

recommendation that Defendant’s motion for judgment on the pleadings be granted on


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the merits. In court, “the First Amendment rights of everyone (attorneys included) are at

their constitutional nadir.” Mezibov v. Allen, 411 F.3d 712, 718 (6th Cir. 2005). Even

disruptive defendants can be excluded from court proceedings. Illinois v. Allen, 397 U.S.

337 (1970) (stating trial judges have discretion in responding to disruptive conduct to

restore dignity, order, and decorum; there is not a single formula presenting a panacea

to maintain, retain, and restore order and decorum). Courtrooms are not fora that entitle

all individuals to absolute rights of access and speech. In Plaintiff’s 12(c) motion, Deters

asserts that “it is clear and undisputable [sic] Eric Deters has a constitutional right to be

in the courtroom as a member of the public and to assist the attorneys trying Deters Law

cases.” (Doc. 8 at 2). To the contrary, Deters possesses no absolute right of access or

ability to participate in state court Durrani proceedings.

       To the extent Deters asserts his rights as a member of the public, courts have

confirmed that individual members of the public can be excluded from the courtroom for

any number of reasons, including use of cellphones in contravention of signs proscribing

use of electronic devices. See e.g., Huminski v. Corsones, 386 F.3d 116, 149 (2d. Cir.

2004) (also stating that "even the best behaved and least objectionable person seeking

admittance may be barred from a courtroom for mundane practical reasons"). Thus, any

single spectator or member of the public may be excluded for engaging in improper

behavior. Even assuming that the constitutional right of public access that applies to civil

proceedings (including pretrial proceedings) is completely co-extensive with the

constitutional right of access to criminal trials, that interest is not abridged “where, as

here, the trial remains open to the public, including the media, and the only person

excluded from the proceedings is the disruptive spectator.” Swell v. Sheets, 2011 WL


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4914911 at *13 (S.D. Ohio Oct. 14, 2011) (discussing exclusion of single family member

from a criminal trial).

           To the extent that Deters claims greater rights than the public-at-large in his

“paralegal” or “trial consultant” role as an employee of Deters Law, Plaintiff possesses no

greater First Amendment rights than possessed by the attorneys for whom he works.

Yet, in the courtroom setting, the First Amendment rights of attorneys are clearly

circumscribed.

           An attorney's speech in court and in motion papers has always been tightly
           cabined by various procedural and evidentiary rules, along with the heavy
           hand of judicial discretion. In fact, judges regularly fine attorneys, and even
           throw them in jail from time to time, as a direct consequence of attorneys'
           in-court speech, and it appears no circuit court has ever found this to violate
           the First Amendment.

Mezibov v. Allen, 411 F.3d at 717 (internal footnote omitted).

           Transcripts of the Durrani proceedings indicate that Deters disrupted proceedings,

including interrupting the oral arguments of attorneys, on several occasions. Judge

Schweikert notified Deters that his conduct was disruptive, and gave Plaintiff several

opportunities to correct his behavior.7 Judge Schweikert’s response in excluding Deters

from proceedings was an exercise to restore order and decorum in the courtroom. While

non-licensed persons may speak in court, individuals are not entitled to address the court

at any time or in any manner.

    III.      Conclusion and Recommendation

           For these reasons, it is therefore RECOMMENDED THAT:

           (1) Plaintiff’s motion for judgment on the pleadings (Doc. 8) be DENIED;


7See Defendant’s counsel’s answer and 12(c) motion references transcripts from April 17, 2018 and May
21, 2018 proceedings. Judge Schweikert’s October 4, 2018 order followed a previously expressed
consideration of excluding Plaintiff from proceedings.

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      (2) Defendant’s motion for judgment on the pleadings (Doc. 13) be GRANTED as

         follows:

         (a) Plaintiff’s claims for injunctive relief and for attorney’s fees should be

            dismissed with prejudice;

         (b) Plaintiff’s claim for declaratory relief should be dismissed either under

            Rooker-Feldman (with prejudice). However, as an alternative, dismissal

            under the doctrine of Younger abstention (without prejudice) is

            recommended;

         (c) If any reviewing court disagrees with the recommendation for dismissal of

            the claim for declaratory relief as specified in ¶ 2(b) of this Report and

            Recommendation, the undersigned would alternatively recommend

            dismissal of that claim on the merits;

      (3) Based upon Plaintiff’s inclusion of patently frivolous claims and arguments in

         clear violation of Rule 11, Fed. Civ. P., the undersigned further recommends

         that the Court issue a “show cause” order directing Plaintiff to show cause why

         a monetary sanction should not issue based upon the filing of the complaint.


                                                      s/ Stephanie K. Bowman
                                                     Stephanie K. Bowman
                                                     United States Magistrate Judge




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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


ERIC C. DETERS
                                                             Case No. 1:19-cv-0024
             Plaintiff,
                                                             Dlott, J.
      v.                                                     Bowman, M.J.

MARK SCHWEIKERT,

             Defendant


                                        NOTICE

      Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written

objections to this Report & Recommendation (“R&R”) within FOURTEEN (14) DAYS after

being served with a copy thereof. That period may be extended further by the Court on

timely motion by either side for an extension of time. All objections shall specify the

portion(s) of the R&R objected to, and shall be accompanied by a memorandum of law in

support of the objections. A party shall respond to an opponent’s objections within

FOURTEEN DAYS after being served with a copy of those objections. Failure to make

objections in accordance with this procedure may forfeit rights on appeal. See Thomas

v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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